      Case: 1:20-cv-03366 Document #: 48 Filed: 11/19/21 Page 1 of 1 PageID #:894




                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION
 LISA CALVENTE,                     )
                                    )
                Plaintiff,          )
                                    )    Case No.: 1:20-cv-03366
       v.                           )
                                    )    Judge John Robert Blakey
 SALMA GHANEM and DEPAUL            )
 UNIVERSITY,                        )
                                    )
                Defendants.         )




                             DEFENDANTS’ STATEMENT OF FACTS
                                        EXHIBITS




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